     Case 2:22-cv-02687-DSF-JEM Document 22 Filed 01/12/23 Page 1 of 1 Page ID #:167
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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER
COASTAL CORPORATION LTD.,
                                                                               2:22-cv-02687-DSF-JEM
                                                 Plaintiff(s)
                               v.

HARVEST KING TRADING USA, LIMITED, et al.,                                     MEDIATION REPORT

                                                Defendant(s).
Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.
1.       0 A mediation was held on (date): January 12, 2023
         D   A mediation did not take place because the case settled before the session occurred.
2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                  0 Appeared as required by L.R. 16-15.S(b).
                  D    Did not appear as required by L.R. 16-15.S(b).
                           D    Plaintiff or plaintiffs representative failed to appear.
                           D    Defendant or defendant's representative failed to appear.
                           D    Other:
3.      Did the case settle?
                  D    Yes, fully, on _ _ _ _ _ _ _ _ _ (date).
                  D    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                  D    Yes, partially, and further facilitated discussions are not expected.
                  D    No, and further facilitated discussions are expected. (See No. 4 below.)
                  0 No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?




Dated: January 12, 2023                                                          Is/ Andrew S. Pauly
                                                                               Signature of Mediator

The Mediator must electronically file original document in CM/                  ANDREWS. PAULY
ECF using one offour choices under "Civil=> Other Filings =>                   Name of Mediator (print)
ADR!Mediation Documents=> Mediation Report (ADR-3)."

ADR-03 (10/19)                                         MEDIATION REPORT                                       Page 1 of 1
